                              Case 11-44290-LMI                   Doc 7        Filed 12/16/11                Page 1 of 2

CGFI3 (8/1/11)

                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                  Case Number: 11−44290−LMI
                                                                                                                  Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Keith A. James                                                                Edna L. James
3821 NW 175th St.                                                             3821 NW 175th St.
Miami Gardens, FL 33055                                                       Miami Gardens, FL 33055

SSN: xxx−xx−2513                                                              SSN: xxx−xx−8471


                 NOTICE OF FILING OF CHAPTER 13 CASE AND
     NOTICE TO DEBTOR OF DEADLINE(S) TO CORRECT FILING DEFICIENCIES
TO ALL PARTIES OF RECORD:
NOTICE OF FILING OF CHAPTER 13 CASE:The above−named debtor filed a chapter 13 bankruptcy case on December 15,
2011. This notice is being provided to advise all parties of record of the filing of this case. Upon the filing of a plan by the debtor,
a Notice of Chapter 13 Case, Meeting of Creditors and Deadlines will be issued by the clerk's office notifying creditors of the
dates set for the meeting of creditors and confirmation hearing and establishing a deadline for filing a proof of claim. If you
received this notice you may be a creditor in this case. The filing of the bankruptcy case automatically stays certain collection
and other actions against the debtor, debtor's property and certain co−debtors. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay. If you attempt to
collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to determine your
rights in this case.


TO THE DEBTORS, Keith A. James and Edna L. James :
NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCIES: NOTICE IS HEREBY GIVEN TO THE DEBTOR(S) that the
above referenced case, which was filed on December 15, 2011, contains one or more filing deficiency(ies) which must be
corrected. Failure to correct a deficiency on or before the deadline posted below the listed deficiency may result in
dismissal of this case without further notice. Deficiencies in items listed below may include failure to file the document,
failure to sign the document or failure to submit the document on a form that substantially conforms to an Official Bankruptcy
Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms, instructions and
guidelines are on the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.

                     Chapter 13 Plan (Local Form LF−31) was not filed with the petition.
                     Deadline to correct deficiency: 12/29/11

                     Schedules of assets and liabilities. The following schedules were not filed.
                     Deadline to correct deficiency: 12/29/11

                             Official Bankruptcy Form B6 Summary of Schedules and/or Part two Statistical
                             Summary
                             Official Bankruptcy Form B6B Personal Property
                             Official Bankruptcy Form B6C Property Claimed As Exempt
                             Official Bankruptcy Form B6E Creditors Holding Unsecured Priority Claims
                             Official Bankruptcy Form B6G Executory Contracts and Unexpired Leases
                             Official Bankruptcy Form B6H Codebtors Form
                             Official Bankruptcy Form B6I Current Income of Individual Debtor(s)
                             Official Bankruptcy Form B6J Current Expenditures of Individual Debtor(s)
                     Declaration Concerning Debtor's Schedules (Official Bankruptcy Form B6 Declaration)
                     was not filed or was not signed.
                     Deadline to correct deficiency: 12/29/11

                                        Declaration not filed
                                        Declaration not signed
                         Case 11-44290-LMI             Doc 7       Filed 12/16/11        Page 2 of 2

                                 Declaration must be filed with deficient schedules listed above


                  Statement of Financial Affairs (Official Bankruptcy Form B7) not filed or was not signed.
                  See Bankruptcy Rule 1007(b) and (c).
                  Deadline to correct deficiency: 12/29/11

                                 Statement not filed
                                 Statement not signed
                                 Statement incomplete


                  Statement of Current Monthly Income and Disposable Income Calculation (Official
                  Bankruptcy Form 22C) not filed. See Bankruptcy Rule 1007(b) and (c).
                  Deadline to correct deficiency: 12/29/11

                  Copies of all payment advices or other evidence of payment received within 60 days
                  before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                  See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(F). Payment advices are
                  deficient as indicated: not filed with petition
                  Deadline to correct deficiency: 12/29/11

                  Copies of all payment advices or other evidence of payment received within 60 days
                  before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Joint
                  Debtor. See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(F). Payment advices
                  are deficient as indicated: not filed with petition
                  Deadline to correct deficiency: 12/29/11


Please also be advised of the following local requirements when correcting any deficiency related to filing of petitions,
schedules, statements or lists:

                1. The Local Form "Debtor's Notice of Compliance with Requirements for Amending Creditor Information"
                   (LF−04) and the Official Bankruptcy Form "Declaration Concerning Debtor's Schedules" must accompany
                   the filing of any paper submitted subsequent to the filing of the initial service matrix. [See Bankruptcy Rules
                   1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D)]. If the paper you are filing to correct the
                   deficiency requires you to amend your service matrix, please review the "Clerk's Instructions for Preparing,
                   Submitting and Obtaining Service Matrices" for additional format, fee and other requirements; and

                2. The Local Form "Declaration Under Penalty of Perjury to Accompany Electronically Filed Petitions,
                   Schedules and Statements" (LF−11) must accompany any electronically filed schedule or statement filed
                   without an imaged signature.

Dated: 12/16/11                                                     Clerk of Court
                                                                    By: Marva Reynolds , Deputy Clerk
The clerk shall serve a copy of this notice on all parties of record.
